          Case 1:24-cv-00191-PB-AJ Document 7 Filed 09/23/24 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

Thomas Marshall,                             )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )                 Case No. 1:24-cv-00191-PB-AJ
                                             )
United States of America, Federal Bureau of  )
Investigation, BATF, and Merrick Garland, in )
his official capacity as Attorney General,   )
                                             )
        Defendants.                          )
__________________________________________)

        DEFENDANTS’ MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants move this

Court to dismiss Plaintiff’s Complaint for failure to state a plausible claim for relief.

        In support of this Motion, Defendants refer the Court to the supporting memorandum of

law, and the record of this litigation.

        Therefore, Defendants request this Court dismiss the Complaint under Rule 12(b)(6).


                                                       Respectfully submitted,

                                                       JANE E. YOUNG
                                                       United States Attorney


        Dated: September 23, 2024                 By: /s/Anna Dronzek
                                                       Anna Dronzek
                                                       Assistant United States Attorney
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